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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


TERESA JACOBSEN,

Plaintiff,                                               Case No. 1:15-cv-10613

v.                                                       Honorable Judge Jorge L. Alonso

COMENITY BANK.

Defendant.

              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel that the above-captioned action is dismissed, with prejudice, against the

defendant pursuant to settlement and Federal Rule of Civil Procedure 41. Each party shall bear its

own costs and attorney fees.



Dated: August 24, 2016                               Respectfully Submitted,


/s/ Charity A. Olson (with consent)                 /s/ Majdi Y. Hijazin
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